Case No. 1:22-cv-02680-NYW-TPO          Document 105      filed 06/04/25    USDC Colorado
                                         pg 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-2680-NYW-TPO

ROCKY MOUNTAIN GUN OWNERS,
NATIONAL ASSOCIATION FOR GUN RIGHTS,
CHARLES BRADLEY WALKER,
BRYAN LAFONTE,
GORDON MADONNA,
JAMES MICHAEL JONES, and
MARTIN CARTER KEHOE,

       Plaintiffs,

v.

THE TOWN OF SUPERIOR,
CITY OF LOUISVILLE, COLORADO,
CITY OF BOULDER, COLORADO, and
BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,

       Defendants.



              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY



       Defendants respectfully submit this Notice of Supplemental Authority to inform

the Court of two recent developments in cases involving assault weapons and/or large-

capacity magazines: (i) the Supreme Court’s orders, issued earlier this week, denying

petitions for certiorari from federal appellate court decisions rejecting Second

Amendment challenges to Maryland’s law restricting assault weapons and Rhode

Island’s law restricting large-capacity magazines capable of accepting more than 10

rounds of ammunition and (ii) a federal appellate court ruling, also issued earlier this

week, upholding a local Illinois ordinance restricting assault weapons.
Case No. 1:22-cv-02680-NYW-TPO           Document 105       filed 06/04/25    USDC Colorado
                                          pg 2 of 5




       First, on June 2, 2025, the U.S. Supreme Court denied certiorari in Snope v.

Brown, --- S. Ct. ----, 2025 WL 1550126 (June 2, 2025), a challenge to Maryland’s

assault weapon law, and Ocean State Tactical v. Rhode Island, --- S. Ct. ----, 2025 WL

1549866 (June 2, 2025), a challenge to Rhode Island’s large-capacity magazine law.

Defendants previously cited and discussed the appellate court decisions in Snope and

Ocean State Tactical in support of their motion for summary judgment. See Defs.’

Statement of Suppl. Authority, Dkt. 93, at 7–8 & nn.7–9.

       In Snope, the U.S. Court of Appeals for the Fourth Circuit, sitting en banc, held

that Maryland’s law is constitutional under both the text and history steps of the Second

Amendment analysis, concluding that “[t]he assault weapons at issue fall outside the

ambit of . . . the Second Amendment,” and that Maryland’s law also “fits comfortably

within our nation’s tradition of firearms regulation.” Bianchi v. Brown, 111 F.4th 438, 441

(4th Cir. 2024) (en banc), cert. denied sub nom. Snope v. Brown, --- S. Ct. ----, 2025 WL

1550126 (June 2, 2025). Justices Thomas, Gorsuch, and Alito would have granted the

petition for certiorari and Justice Thomas dissented from the denial of certiorari, while

Justice Kavanaugh issued a statement respecting the denial of certiorari. See Snope,

2025 WL 1550126. A copy of the Supreme Court’s denial of certiorari, Justice Thomas’s

dissent, and Justice Kavanaugh’s statement in Snope are attached as Exhibit 1.

       In Ocean State Tactical, the U.S. Court of Appeals for the First Circuit affirmed

the denial of a preliminary injunction against Rhode Island’s large-capacity magazine

law, holding that it “is likely both consistent with our relevant tradition of gun regulation

and permissible under the Second Amendment.” Ocean State Tactical, LLC v. Rhode

Island, 95 F.4th 38, 52 (1st Cir. 2024), cert. denied, --- S. Ct. ----, 2025 WL 1549866




                                               2
Case No. 1:22-cv-02680-NYW-TPO            Document 105        filed 06/04/25     USDC Colorado
                                           pg 3 of 5




(June 2, 2025). Justices Thomas, Alito, and Gorsuch would have granted the petition for

certiorari. See Ocean State Tactical, 2025 WL 1549866. A copy of the Supreme Court’s

denial of certiorari in Ocean State Tactical is attached as Exhibit 2.

       Second, also on June 2, 2025, the U.S. Court of Appeals for the Seventh Circuit

issued a non-precedential order in Viramontes v. Cook County, No. 24-1437, 2025 WL

1553896 (7th Cir. June 2, 2025), affirming the district court’s summary judgment ruling

upholding an Illinois county’s assault weapon ordinance. Defendants previously cited

the district court’s decision in Viramontes in support of their motion for summary

judgment. See Defs.’ Statement of Suppl. Authority, Dkt. 93, at 8.

       In the Seventh Circuit’s decision affirming the district court, it explained that it had

rejected a challenge to the same ordinance at the preliminary injunction stage in Bevis

v. City of Naperville, 85 F.4th 1175 (7th Cir. 2023), cert denied, 144 S. Ct. 2491 (2024);

that the plaintiffs could not “justify overruling” Bevis; and that the plaintiffs “failed to

develop a record sufficient to justify a different result” under Bevis. Viramontes, 2025

WL 1553896, at *1–2. A copy of the Seventh Circuit’s decision in Viramontes is

attached as Exhibit 3.




                                                3
Case No. 1:22-cv-02680-NYW-TPO      Document 105     filed 06/04/25    USDC Colorado
                                     pg 4 of 5




Dated: June 4, 2025                         Respectfully submitted,

                                            By: /s/ William J. Taylor, Jr.

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                                        4
Case No. 1:22-cv-02680-NYW-TPO            Document 105      filed 06/04/25    USDC Colorado
                                           pg 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2025, I served a true and complete copy of the

foregoing DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY upon all parties

herein by e-filing with the CM/ECF system maintained by the Court, which will send

notification of such filing to the parties of record.

Dated: June 4, 2025
                                                    Respectively submitted,

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                                                5
